Case: 21-1227   Document: 44 Page:
          Case 1:20-cv-10468-LTS    1  Date
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                                                    01/20/23 Page 1 of ID:
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               United States Court of Appeals
                               For the First Circuit
 No. 21-1227
                                         JOHN DOE,

                                     Plaintiff - Appellant,

                                               v.

                               STONEHILL COLLEGE, INC.,

                                    Defendant - Appellee.


                                         MANDATE

                                  Entered: January 20, 2023

        In accordance with the judgment of December 14, 2022, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                            By the Court:

                                            Maria R. Hamilton, Clerk


 cc:
 Seth W. Brewster
 Janna L. Gau
 Christopher M. Iaquinto
 Zachary Dein Reisch
 Timothy C. Woodcock
